             Case 2:19-cr-00064-JLS Document 319 Filed 02/10/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
UNITED STATES OF AMERICA                               :
                                                       :    CRIMINAL NO. 2:19-0064
                      v.                               :
                                                       :
JOHN DOUGHERTY                                         :
                                                       :
                                                       :
                                                       :
                                                       :

              DEFENDANT JOHN DOUGHERTY’S UNOPPOSED MOTION TO
                        ADJOURN HIS SENTENCING DATE

                 Defendant John Dougherty (“Defendant”) through his undersigned counsel,

hereby respectfully moves this Court to adjourn his sentencing hearing currently set for April 27,

2022. In support of this Motion, counsel states the following:

        1.       On January 30, 2019, the Court unsealed a 116-count Indictment in the above-

referenced criminal action. (Dkt. No. 1 (the “Indictment”).)

        2.       On November 2, 2020, the Court severed the Indictment and, as a result, ordered

that Mr. Dougherty would face two separate trials on the charges contained in the Indictment.

        3.       The first trial, on Counts 97-116 of the Indictment, began on October 4, 2021.

        4.       The jury returned its verdict on November 15, 2021, convicting Mr. Dougherty on

eight counts.

        5.       On November 29, 2021, Defendant Dougherty filed a Motion for Judgment of

Acquittal, or in the Alternative, for a New Trial. (Dkt. No. 254.) That Motion was fully briefed

on January 18, 2022.

        6.       Mr. Dougherty’s sentencing hearing is currently scheduled for April 27, 2022 at

10am.



DMEAST #13548085 v1
            Case 2:19-cr-00064-JLS Document 319 Filed 02/10/22 Page 2 of 2




       7.       Jury selection is currently scheduled to begin on March 28, 2022 in United States

v. Dougherty, 21-cr-65 (the “Second Indictment”).

       8.       Jury selection is scheduled to begin on Counts 1-96 of the Indictment on

September 12, 2021.

       9.       The Court has held under advisement a request to continue trial on the Second

Indictment to either mid-April or early May 2022.

       10.      Mr. Dougherty will be prejudiced if a sentencing hearing is held on the eve of trial

on the Second Indictment, as this hearing will likely provoke great media attention which will

greatly and negatively impact his ability to pick a jury.

       11.      Mr. Dougherty therefore, requests that the Court adjourn his sentencing date until

a date to be determined after the completion of trial on the Second Indictment.

       12.      Undersigned counsel has conferred with counsel for the Government, who do not

oppose Mr. Dougherty’s request to adjourn the sentencing date.

                WHEREFORE, Mr. Dougherty respectfully requests that the Court grant his

unopposed motion to adjourn his sentencing date to a date to be determined after the completion

of trial on the Second Indictment.

                                                      Respectfully submitted,


Date: February 10, 2022                               /s/ Henry E. Hockeimer, Jr.
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DMEAST #13548085 v1                               2
